                      Case 4:14-cr-00211-DPM                   Document 835              Filed 07/21/16          Page 1 of 5
AO 245B (Rev. 10/15) Judgment ma Criminal Case                                                                               FILED
                                                                                                                      EAST~RSN. DDISTRICT COURT
                     Sheet 1                                                                                                    /STRICT ARKANS




                                                                          )
                UNITED STATES OF AMERICA                                  )       JUDGMENT IN A CRIMINAL CASE
                                 v.                                       )
                           Henry Jackson                                  )
                                                                                  Case Number: 4:14-cr-211-DPM-28
                                                                          )
                                                                          )       USM Number: 28834-009
                                                                          )
                                                                          )        Jack R. Kearney
                                                                          )       Defendant's Attorney
THE DEFENDANT:
Ill pleaded guilty to count(s)        73 of the Indictment

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count( s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                          Offense Ended
 21 U.S.C. § 843(b)               Using a Communication Facility to Facilitate Committing a

                                  Drug Offense, a Class E Felony                                             3/14/2014                    73



       The defendant is sentenced as provided in pages 2 through         __
                                                                          5 _ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
Ill Count( s)     1 & 74                                D is      Ill are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material ctianges in economic circumstances.

                                                                          7/20/2016
                                                                         Date oflmposition of Judgment




                                                                         SignatureofJ~~I=•
                                                                          D.P. Marshall Jr.                         United States District Judge
                                                                         Name and Title of Judge




                                                                         Date
                          Case 4:14-cr-00211-DPM                   Document 835            Filed 07/21/16           Page 2 of 5
AO 245B (Rev. 10/15) Judgment in a Criminal Case
        Sheet 4-ProbatJon
                                                                                                               Judgment-Page _ _ _ of
 DEFENDANT: Henry Jackson
 CASE NUMBER: 4:14-cr-211-DPM-28
                                                                    PROBATION
 The defendant is hereby sentenced to probation for a term of :

 3 years.




 The defendant shall not commit another federal, state or local crime.
   The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
 thereafter, as determined by the court.
 D          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
            future substance abuse. (Check. if applicable.)
 el         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check. if applzcable.)

 Ill        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check. if applicable.)

 D          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
            as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
            works, is a student, or was convicted of a qualifying offense. (Check. if applicable)
 D          The defendant shall participate in an approved program for domestic violence. (Check. if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
 Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
       1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)      the defendant shall support his or her dependents and meet other family responsibilities;
     5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
             acceptable reasons;
     6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
             substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
             felony, unless granted permission to do so by the probation officer;
  10)        the defendant shall J>ermit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
             contraband observea in plain view of the probation officer;
  11)        the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)        the d~fe.ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
             perm1ss10n of the court; and
  13)        as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
             record or Rersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
             defendant s compliance with such notification requirement.
                    Case 4:14-cr-00211-DPM         Document 835         Filed 07/21/16       Page 3 of 5
AO 245B (Rev. 10/15) Judgment ma Crimmal Case
        Sheet 4C - Probation
                                                                                         Judgment-Page -~3- of      5
DEFENDANT: Henry Jackson
CASE NUMBER: 4:14-cr-211-DPM-28

                                       SPECIAL CONDITIONS OF SUPERVISION
  81) Jackson must participate, under the guidance and supervision of the probation officer, in a substance-abuse
  treatment program, which must include regular and random drug testing, and may include outpatient counseling,
  residential treatment, or both.
                        Case 4:14-cr-00211-DPM                     Document 835                    Filed 07/21/16         Page 4 of 5
AO 2458 (Rev. 10/15) Judgment in a Criminal Case
         Sheet 5 - Crirnmal Monetary Penalties
                                                                                                             Judgment -   Page          of        5
 DEFENDANT: Henry Jackson
 CASE NUMBER: 4:14-cr-211-DPM-28
                                                   CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                        Assessment                                             Fine                                  Restitution
 TOTALS             $   100.00                                             $    0.00                             $    0.00



 D The determination ofrestitution is deferred until - - - - . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

   Name of Payee                                                                   Total Loss*          Restitution Ordered      Priority or Percentage




 TOTALS                               $                        0.00                 $~~~~~~-o_.o_o_


 D     Restitution amount ordered pursuant to plea agreement $

 D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D the interest requirement is waived for the            D    fine       D    restitution.

       D the interest requirement for the           D   fine       D restitution is modified as follows:

 * Findings for the total amount oflosses are required under Chapters 109A, 110, 1 IOA, and l 13A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
                        Case 4:14-cr-00211-DPM                    Document 835               Filed 07/21/16            Page 5 of 5
AO 245B (Rev I 0/15) Judgment in a Criminal Case
        Sheet 6 - Schedule of Payments

                                                                                                                 Judgment - Page              of
 DEFENDANT: Henry Jackson
 CASE NUMBER: 4:14-cr-211-DPM-28

                                                        SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     IZ]     Lump sum payment of$ -100.00
                                      ------
                                             due immediately, balance due

               D      not later than _ _ _ _ _ _ _ _ __                , or
               i;zJ   in accordance      0 C, 0 D, 0                    E, or     It! F below; or
 B     D       Payment to begin immediately (may be combined with               oc,         DD, or        D F below); or

 C     D       Payment in equal                        (e.g., weekly, monthly. quarterly) installments of $                             over a period of
                             (e g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D      D       Payment in equal                        (e.g., week(v, monthly, quarterly) installments of $                          over a period of
                             (e.g.. months or years), to commence                        (e.g.. 30 or 60 days) after release from imprisonment to a
               term of supervision; or

 E     O Payment during the term of supervised release will commence within                       (e g., 30 or 60 days) after release from
               imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     IZ'.I   Special instructions regarding the payment of criminal monetary penalties:
                If Jackson can't pay the special assessment immediately, then he must pay 10 percent of his gross monthly
                income until the assessment is paid in full.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monet~ penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D     Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




 D     The defendant shall pay the cost of prosecution.

 D     The defendant shall pay the following court cost(s):

 D     The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
